    Case: 1:17-cv-07781 Document #: 24 Filed: 02/22/19 Page 1 of 2 PageID #:107

                                                                            FILED
                        UNITED STATES DISTRICT COURT      FEB 2 2 20ts
                     FOR THE NORTHER DISTRICT OF ILLINOIS
                               EASTERN DIVISION        qERtreffirffT3U,*,
MICHAEL ECHOLS

              PLAINTIFF,                          Civil Action No. l7-cv-07781

              v.                                  Hon. Harry D. Leinenweber

DENNIS A. BREBNER d/b/a                           Magistrate Judge David Weisman
DENNIS A. BREBNER & ASSOCIATES
           DEFENDANTS.

                                  NorrcE oF*r0froir-         drrqrT0 4f
       On March 19,2019 at 9:30 am in Room l94l of the Dirksen Federal Building, 219 South
Dearborn Street, Chicago, IL 60604, or as soon thereafter I shall appear before the Honorable
Judge Leinenweber and there present PLAINTIFF'S CITATION TO DISCOVER ASSETS TO
A THIRD PARTY.

                                                  Respectfully Submitted,

                                                  lslCeletha C. Chatman
                                                  Celetha Chatman




                                                  Celetha Chatman
                                                  Attorney at Law
                                                  Community Lawyers Group, Ltd.
                                                  20 North Clark Street, Suite 3100
                                                  Chicago, IL 60602
                                                  Ph:312.757.1880
                                                  fax: 312.47 6.1383
                                                  cchatman@community lawyersgroup. com
                                                  mwood@communitylawyers group.com
       Case: 1:17-cv-07781 Document #: 24 Filed: 02/22/19 Page 2 of 2 PageID #:107




                                  CERTIFICATE OF SERVICE

         I,   Celetha Chatman, an attomey, hereby certiff that on February 22, 2019,I f,rled the

foregoing with the clerk who     will file it in the CM/ECF system, which will   send notification   of

such   filing to all attomeys of record. I will also serve a copy on Bank of America by messenger at

105 W. Madison Street, Chicago,Illinois 60602.


Dated: February 22,2019                                                    Respectfu   lly submitted,


                                                                       By:       lsl Celetha Chatman
